         CASE 0:19-cr-00101-SRN-ECW Doc. 8 Filed 09/24/19 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                            Criminal No. 19-101 SRN/KMM

United States of America,

                                  Plaintiff,

v.                                                ORDER FOR APPOINTMENT
                                                  OF COUNSEL
Aaron Rhy Broussard,

                                Defendant.


       The Court has determined that the defendant in the above matter is financially

unable to employ counsel and finds that it is in the interest of justice that counsel be

assigned.

       IT IS HEREBY ORDERED that Christopher Madel, Attorney ID 230297, is

appointed as counsel pursuant to 18 U.S.C. § 3006A.



 Date: September 24, 2019                            s/Katherine Menendez
                                                     Katherine Menendez
                                                     United States Magistrate Judge
